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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 ROCK HILL DIVISION

SCOTTIE WILLIAMS,                              )   Civil Action Number: 0:19-cv-01905-MGL
                                               )
                       Plaintiff,              )
                                               )
v.                                             )
                                               )
KILOLO KIJAKAZI,1                              )
Acting Commissioner of                         )
Social Security Administration,                )
                                               )
                       Defendant.              )

                                              ORDER


       AND NOW, this 23rd day of September 2021, it is hereby, ORDERED that Plaintiff,

Scottie Williams, is awarded attorney fees in the amount of Four Thousand, Six Hundred, Sixty-

Five Dollars and 88/100 Cents ($4,665.88) and expenses in the amount of Sixteen Dollars and

0/100 Cents. This award will be paid directly to Plaintiff, Scottie Williams, and sent to the

business address of Plaintiff’s counsel. Full or partial remittance of the awarded attorney fees

will be contingent upon a determination by the Government that Plaintiff owes no qualifying,

pre-existing debt(s) to the Government. If such a debt(s) exists, the Government will reduce the

awarded attorney fees in this Order to the extent necessary to satisfy such debt(s).



                                                      s/ Mary Geiger Lewis
                                                      Honorable Mary Geiger Lewis
September 23, 2021                                    United States District Judge
Columbia, South Carolina

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  Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant
to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted,
therefore, for Andrew Saul as the defendant in this suit. No further action need be taken to continue
this suit by reason of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. §
405(g).
